                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
          Plaintiff,                                   )
                                                       )
v.                                                     )      Case No. 1:09-00009
                                                       )      Judge Trauger
THOMAS A. “TICK” PAYNE,                                )
                                                       )
          Claimant.                                    )

                                 MEMORANDUM AND ORDER

          Pending before the court is defendant Thomas A. “Tick” Payne’s Motion for Bill of

Particulars (Docket No. 133). The United States has filed a response (Docket No. 145), to which

the defendant has replied (Docket No. 147). The United States then filed another response to the

defendant’s reply. (Docket No. 148.) For the reasons discussed below, the defendant’s motion

will be granted in part and denied in part.

                                          BACKGROUND

          The defendant was arrested after a long-term investigation into a distribution network of

methamphetamine in the Columbia, Tennessee area. Subsequently, he was charged with several

drug-related crimes, one of which was conspiring to possess with intent to distribute and

distributing fifty grams or more of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and

846. Specifically, Count One of the Superseding Indictment, returned on September 23, 2009,

states:

                 Beginning no later than in or about 2006, the exact date being
                 unknown to the Grand Jury, through on or about July 2, 2009, in

                                                  1


 Case 1:09-cr-00009          Document 149        Filed 08/06/10      Page 1 of 8 PageID #: 548
               the Middle District of Tennessee and elsewhere, JULIE A. CRUZ
               and THOMAS A. “TICK” PAYNE did combine, conspire,
               confederate, and agree with each other and others known and
               unknown to the Grand Jury, to unlawfully, knowingly, and
               intentionally possess with intent to distribute and distribute 50
               grams or more of methamphetamine, a Schedule II controlled
               substance, in violation of Title 21, United States Code, Section
               841(a)(1).

               All in violation of Title 21, United States Code, Section 846.

(Docket No. 49 at 1.)

       Nearly a year later, on June 30, 2010, the defendant filed a Motion for Bill of Particulars,

requesting the following information: (1) the starting date of the alleged conspiracy, (2) the date

on which the Government alleges that Payne joined the conspiracy, (3) the date and nature of the

earliest event upon which each co-conspirator allegedly joined the conspiracy, (4) the names,

addresses, and phone numbers of all alleged co-conspirators, and (5) a synopsis of alleged overt

acts in furtherance of the conspiracy. (Docket No. 133.) The Government filed a response,

which provided some additional information regarding the allegations in Count One. (Docket

No. 145.) The court then requested a reply from Payne to determine whether he still sought any

information from the Government. (Docket No. 146.)

       In his reply, Payne requests a hearing and continues to move for certain particulars

relating to Count One, including “the timeframe, the charge, the known co-conspirators, and the

listed overt acts.” (Docket No. 147 at 5-6.)

                                           ANALYSIS

       The defendant has filed a Motion for a Bill of Particulars pursuant to Federal Rule of

Criminal Procedure 7(f).

                                                 2


 Case 1:09-cr-00009         Document 149        Filed 08/06/10      Page 2 of 8 PageID #: 549
I.       Bill of Particulars

         “A bill of particulars is ‘a tool to minimize surprise and assist [the] defendant in

obtaining the information needed to prepare a defense and to preclude a second prosecution for

the same crimes. It is not meant as a tool . . . to obtain detailed disclosure of all evidence held by

the government before trial.’” United States v. Vassar, No. 07-5299, 2009 U.S. App. LEXIS

20879, at *9 (6th Cir. Sept. 16, 2009) (alteration in original) (quoting United States v. Salisbury,

983 F.2d 1369, 1375 (6th Cir. 1993)). “‘A defendant is not entitled to a bill of particulars with

respect to information which is available through other sources.’” United States v. Mims, No.

3:08-CR-116, 2009 U.S. Dist. LEXIS 5291, at *3 (E.D. Tenn. Jan. 23, 2009) (quoting United

States v. Paulino, 935 F.2d 739, 750 (6th Cir. 1991), superseded by statute on other grounds,

U.S. Sentencing Guidelines Manual § 3B1.1 cmt. n.2 (1993), as recognized in United States v.

Caseslorente, 220 F.3d 727, 734 (6th Cir. 2000)). Whether or not the bill of particulars is

granted is at the discretion of the trial court. Id.

II.      Payne’s Requests

         Payne seeks more specific information regarding the time frame of the alleged

conspiracy, the identity of his co-conspirators, and all of his overt acts alleged to be in

furtherance of the conspiracy.1 The defendant argues that he is entitled to this information so

that he has “adequate notice of the charge to allow for an effective defense.” (Docket No. 147 at



1
 The defendant also requests more information about the charge against him. It is not clear what
he means by this, but it is clear that Count One charges the defendant with conspiring to
unlawfully “possess with intent to distribute and distribute 50 grams or more of
methamphetamine” in violation of 21 U.S.C. § 841(a)(1).

                                                       3


     Case 1:09-cr-00009        Document 149        Filed 08/06/10     Page 3 of 8 PageID #: 550
3.)

       A.      The Conspiracy Charge

       Payne argues that the conspiracy count of the Superseding Indictment is “vague and

undefined.” (Id.) In support of this argument, he cites a more detailed sex trafficking conspiracy

charge in an indictment from a different Middle District of Tennessee case. (Id.) This argument

is misplaced. Under well-settled Sixth Circuit caselaw, the conspiracy count in this case

provides the defendant with sufficient information regarding the charge against him.

       Rule 7(c) of the Federal Rules of Criminal Procedure provides that an indictment “ shall

be a plain, concise and definite written statement of the essential facts constituting the offense

charged.” In United States v. Vassar, No. 07-5299, 2009 U.S. App. LEXIS 20879 (6th Cir. Sept.

16, 2009), the defendant was also charged with conspiring to violate 21 U.S.C. § 841(a)(1), and

the facts revealed in the indictment were nearly identical to those in the instant action. 2009 U.S.

App. LEXIS 20879, at *3. The conspiracy count in Vassar stated:

               From on or before January 1, 2004, until on or about August 24,
               2005, within the Eastern District of Tennessee, the defendants . . .
               and others known and unknown to the grand jury, did conspire,
               confederate and agree with each other and others known and
               unknown to distribute and to possess with intent to distribute five
               (5) kilograms or more of a mixture and substance containing a
               detectable amount of cocaine, a Schedule II controlled substance,
               in violation of Title 21, United States Code, Sections 846,
               841(a)(1) and 841(b)(1)(A).

Id. The court denied the defendant’s motion for a bill of particulars, finding that the information

alleged in the indictment was sufficient. Id. at *3-4. Thus, given its similarity to the conspiracy

charge in Vassar, Count One the Indictment against Payne comports with the Federal Rules of



                                                  4


 Case 1:09-cr-00009         Document 149        Filed 08/06/10       Page 4 of 8 PageID #: 551
Criminal Procedure and is neither vague nor undefined. See also United States v. Mims, No.

3:08-CR-116, 2009 U.S. Dist. LEXIS 5291, at *4-12 (E.D. Tenn. Jan 23, 2009) (holding that an

indictment with language nearly identical to the one returned against Payne was sufficient);

United States v. O’Neal, No. 3:08-CR-107, 2008 U.S. Dist. LEXIS 105393 (E.D. Tenn. Dec. 30,

2008) (same); United States v. Myers, No. 3:06-CR-166, 2007 U.S. Dist. LEXIS 35661, at *12-

21 (E.D. Tenn. May 15, 2007) (same).

       B.      Time Frame of the Alleged Conspiracy

       The defendant seeks the earliest date of the alleged conspiracy and the earliest date that

the Government alleges that he joined it. The Sixth Circuit has held that “an indictment that is

open-ended as to beginning dates but not end dates suffices.” Vassar, 2009 U.S. App. LEXIS

20879, at *11. In Vassar, however, the beginning date alleged in the original conspiracy count

of the indictment was “on or before January 1, 2004.” Id. at *3. After the district court ordered

a bill of particulars on the meaning of this phrase, the prosecution clarified it to beginning “after

April 18, 2002.” Id. at *10. On appeal, the defendant argued that, even after this clarification,

the alleged starting date was insufficient. Id. The Sixth Circuit concluded that the

Government’s response to the bill of particulars was adequate and that the defendant was not

entitled to a more detailed disclosure regarding the dates of the alleged conspiracy. Id. at *11.

       Here, Count One is similar to the original indictment in Vassar. It says that the

conspiracy involving Payne began “not later than in or about 2006, the exact date being

unknown to the Grand Jury, through on or about July 2, 2009." (Docket No. 49 at 1.) The

Government ostensibly uses this phrase to denote when the alleged conspiracy approximately



                                                  5


 Case 1:09-cr-00009         Document 149         Filed 08/06/10      Page 5 of 8 PageID #: 552
began; however, “not later than” has the same meaning as “at least as early as.” Thus, Count

One has the same problem as the indictment in Vassar: the beginning date is completely open-

ended, giving Payne absolutely no guidance as to how far back the alleged conspiracy might

extend.

          Consequently, the Government shall provide the defendant with a firmer beginning date

relating to his alleged involvement in the conspiracy. “To the extent that the defendant[’s]

involvement in the conspiracy was a time period shorter than the entire conspiracy, the

government shall be required to provide the dates that he entered the conspiracy . . . .” Myers,

2007 U.S. Dist. LEXIS 35661, at *19. This date need not be exact, as long as it approximately

marks the earliest date that the Government is alleging that Payne became involved in the

conspiracy. See O’Neal, 2008 U.S. Dist. LEXIS 105393, at *9 (requiring the prosecution to

“provide the approximate dates that [the defendant] entered the conspiracy”). Additionally,

because Payne will be liable for the actions of others in the conspiracy, the Government shall

also provide a firmer beginning date for the overall conspiracy.

          C.     Co-Conspirators

          Payne requests a list of the known co-conspirators involved in Count One. The law is

clear, however, that “the government ‘is not required to furnish the name[s] of all other co-

conspirators in a bill of particulars.’” Vassar, 2009 U.S. App. LEXIS 20879, at *10 (quoting

United States v. Crayton, 357 F.3d 560, 568 (6th Cir. 2004)). “A defendant may be indicted and

convicted despite the names of his co-conspirators remaining unknown, as long as the

government presents evidence to establish an agreement between two or more persons, a



                                                 6


 Case 1:09-cr-00009          Document 149       Filed 08/06/10     Page 6 of 8 PageID #: 553
prerequisite to obtaining a conspiracy conviction.” United States v. Rey, 923 F.2d 1217, 1222

(6th Cir. 1991) (citing Rogers v. United States, 340 U.S. 367, 375 (1951)).

       In Count One, the Government alleges that the defendant conspired with Julie Cruz “and

others known and unknown to the Grand Jury.” (Docket No. 49 at 1.) In its response to the

defendant’s original Motion for Bill of Particulars, the Government gave the defendant the

names of ten additional alleged co-conspirators (Docket No. 145 at 7), which allowed Payne to

create his own list (Docket No. 147 at 4). Thus, the response is sufficient, and the Government

is not required to produce the names of any additional co-conspirators.

       D.      Overt Acts

       The defendant also seeks a list of the overt acts that the Government alleges he

committed in furtherance of the conspiracy. Again, it is well-established that “a defendant is not

entitled to discover all the overt acts that might be proven at trial.” Salisbury, 983 F.2d at 1375;

see also Mims, 2009 U.S. Dist. LEXIS 5291, at *10. Through discovery, the Government has

provided the defendant with a sufficient amount of information to give him adequate notice of

the conspiracy charge against him. Payne even admits that the particulars he seeks, including the

list of overt acts, “can be specified from the information already disclosed.” (Docket 147 at 3.)

Therefore, the court finds that a bill of particulars listing the alleged overt acts is not warranted.

                                          CONCLUSION

       For the reasons discussed above, the defendant’s Motion for a Bill of Particulars is

GRANTED as to the beginning date of his involvement in the alleged conspiracy and DENIED

as to the remainder of the particulars sought.



                                                   7


 Case 1:09-cr-00009          Document 149         Filed 08/06/10      Page 7 of 8 PageID #: 554
    It is so ordered.

    Entered this 6th day of August 2010.

                                                      _______________________

                                                      ALETA A. TRAUGER
                                                      United States District Judge




                                           8


Case 1:09-cr-00009      Document 149       Filed 08/06/10   Page 8 of 8 PageID #: 555
